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Information to identify the case:

Debtor 1:
                      Stefan T Damianov                                           Social Security number or ITIN:   xxx−xx−6035
                                                                                  EIN: _ _−_ _ _ _ _ _ _
                      First Name   Middle Name   Last Name

Debtor 2:                                                                         Social Security number or ITIN: _ _ _ _
                      First Name   Middle Name   Last Name
(Spouse, if filing)                                                               EIN: _ _−_ _ _ _ _ _ _
United States Bankruptcy Court:        Middle District of Florida                 Date case filed for chapter:        7     4/25/22

Case number:           2:22−bk−00446−FMD

Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                               10/20

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                       About Debtor 2:

1.        Debtor's full name                     Stefan T Damianov

2.        All other names used in the aka Stefan Tzvetanov Damianov
          last 8 years

3.      Address                                  19396 La Serena Drive
                                                 Estero, FL 33967

4.      Debtor's attorney                        Michael J Rich                                        Contact phone (239) 333−0192
                                                 2045 McGregor Boulevard
        Name and address                         Fort Myers, FL 33901                                  Email: richlawoffices@gmail.com

5.      Bankruptcy Trustee                       Luis E Rivera II                                      Contact phone (239) 254−8466
                                                 Post Office Box 1026
        Name and address                         Fort Myers, FL 33902−1026

Notice is further given that effective on the date of the Petition, the United States Trustee appointed the above named individual as interim
trustee pursuant to 11 USC § 701.
                                                                                                               For more information, see page 2 >
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Debtor Stefan T Damianov                                                                                          Case number 2:22−bk−00446−FMD


6. Bankruptcy Clerk's Office                    Sam M.. Gibbons United States Courthouse                     Hours open:
                                                801 N. Florida Ave. Suite 555                                Monday − Friday 8:30 AM − 4:00PM
    Documents in this case may be filed at this Tampa, FL 33602−3899
    address. You may inspect all records filed                                                               Contact phone 813−301−5162
    in this case at this office or online at
    https://pacer.uscourts.gov.
                                                                                                             Date: April 26, 2022

7. Meeting of creditors                          May 24, 2022 at 01:20 PM                                    Meeting will be held telephonically

     Debtors must attend the meeting to be                                                        Trustee: Luis E Rivera II
     questioned under oath. In a joint case,                                                      Call in number: 877−847−6383
     both spouses must attend. Creditors may                                                      Passcode: 3014516
     attend, but are not required to do so. You The meeting may be continued or adjourned
     are reminded that Local Rule 5073−1        to a later date. If so, the date will be on the
     restricts the entry of personal electronic
     devices into the Courthouse.               court docket.
 *** Debtor must provide a Photo ID and acceptable proof of Social Security Number to the Trustee in the manner directed by the Trustee. ***


8. Presumption of abuse                          The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge                   Filing deadline: July 25, 2022
                                               or to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                 You must file a complaint:
                                                 • if you assert that the debtor is not entitled to
                                                   receive a discharge of any debts under any of the
                                                   subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                   or

                                                 • if you want to have a debt excepted from discharge
                                                   under 11 U.S.C § 523(a)(2), (4), or (6).

                                                 You must file a motion:
                                                 • if you assert that the discharge should be denied
                                                   under § 727(a)(8) or (9).


                                                 Deadline to object to exemptions:                           Filing deadline: 30 days after the
                                                 The law permits debtors to keep certain property as         conclusion of the meeting of creditors
                                                 exempt. If you believe that the law does not authorize
                                                 an exemption claimed, you may file an objection.


10. Proof of claim                               No property appears to be available to pay creditors. Therefore, please do not file a proof of claim now. If
                                                 it later appears that assets are available to pay creditors, the clerk will send you another notice telling
                                                 you that you may file a proof of claim and stating the deadline.
    Please do not file a proof of claim unless
    you receive a notice to do so.


11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court
                                                 to extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if
                                                 you have any questions about your rights in this case.


12. Exempt property                              The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                                 distributed to creditors. Debtors must file a list of property claimed as exempt. You may inspect that list at
                                                 the bankruptcy clerk's office or online at https://pacer.uscourts.gov. If you believe that the law does not
                                                 authorize an exemption that the debtors claim, you may file an objection. The bankruptcy clerk's office
                                                 must receive the objection by the deadline to object to exemptions in line 9.


13. Voice Case Info. System                      McVCIS provides basic case information concerning deadlines such as case opening, discharge,
    (McVCIS)                                     and closing dates, and whether a case has assets or not. McVCIS is accessible 24 hours a day
                                                 except during routine maintenance. To access McVCIS toll free call 1−866−222−8029.
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